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                            United States District Courts
                                        WESTERN DISTRICT OF TEXAS

United States of America                                                 WARRANT FOR ARREST

v.
                                                           Case Number:
(1) Martin Reyes-Duque                                     DR:16-M -09004(1)



To: The United States Marshal
    and any Authorized United States Officer


YOU ARE HEREBY COMMANDED to arrest                                          (1) Martin Reyes-Duque
                                                                                       Name

and bring him or her forthwith to the nearest magistrate to answer a(n)

     Indictment     Information       X Complaint    Order of Court     Violation Notice      Probation Violation Petition

charging him or her with (brief description)

The defendant, Martin REYES-Duque, was arrested by Border Patrol Agents, on August 29, 2016 for
being an alien illegally present in the United States. Investigation and records of the Bureau of Citizenship
and Immigration Services reveal the defendant was previously deported from the United States on
December 18, 2009 through Del Rio, Texas, Intl Bridge. The defendant was found in the Western District
of Texas without having obtained permission from the Secretary of Homeland Security or the Attorney
General of the United States to re-apply for admission after being deported. The defendant is unlawfully
present in the United States.

in violation of Title             8             United States Code, Section(s)      1326(a)(1)


COLLIS WHITE                                                     U.S. MAGISTRATE JUDGE
Name of Issuing Officer                                          Title of Issuing Officer




______________________________                                   August, 31, 2016 DEL RIO, Texas
Signature of Issuing Officer                                     Date and Location



Bail Fixed at $                                       by
                                                                 Name of Judicial Officer


                                                 RETURN
This warrant was received and executed with the arrest of the above-name defendant at DEL RIO, Texas.
Date Received              Name and Title of Arresting Officer    Signature of Arresting Officer
     August 31, 2016
Date of Arrest             GARCIA, Jesus J
     August 29, 2016       Border Patrol Agent
